Case 1:17-cv-04540-RLM-MJD Document 58 Filed 08/14/18 Page 1 of 2 PageID #: 457



                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF INDIANA
                                     INDIANAPOLIS DIVISION


 MICHAEL REILLEY, JUNIOR, AND                    )
 MICHAEL REILLEY, SENIOR,                        )
                                                 )
                   Plaintiffs,                   )
                                                 )
                   vs.                           )       CAUSE NO. 1:17-cv-04540-RLM-MJD
                                                 )
                                                 )
                                                 )
 BUTLER UNIVERSITY, STACIE                       )
 COLSTON PATTERSON, and                          )
 MARTHA DZIWLIK,                                 )
                                                 )
                   Defendants.                   )

      DEFENDANT’S MOTION TO PERMIT INSURANCE REPRESETANTIVE TO
          APPEAR AT SETTLEMENT CONFERENCE TELEPHONICALLY

        Defendants, Butler University (“Butler”), Stacie Colston Patterson, and Martha Dziwlik

 (collectively “Defendants”), by counsel, request that its insurance carrier representative be

 permitted leave to appear telephonically at the August 21, 2018 settlement conference. In support

 of this motion, Defendants state:

        1.         This matter is set for a settlement conference on August 21, 2018. The Court’s

 order requires that an insurance carrier be represented, in person, at the settlement conference.

        2.         An insurance carrier representative is not necessary at the settlement conference.

 Plaintiff’s settlement demand does not request Defendants pay money to resolve the case. As such,

 the indemnity provision of Defendants’ insurance policy is not invoked.

        3.         The carrier representative will be available by telephone if granted leave to appear

 telephonically.

        4.         Counsel for Plaintiff does not oppose this motion.
Case 1:17-cv-04540-RLM-MJD Document 58 Filed 08/14/18 Page 2 of 2 PageID #: 458



          WHEREFORE, Defendants request that its insurance carrier representative be granted

 leave to attend the August 21, 2018 settlement conference by telephone.

                                                Respectfully submitted,


                                                /s/ Craig W. Wiley
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                                                Attorney for Defendants
                                                Butler University, Stacie Colston Patterson, and
                                                Martha Dziwlik




                                  CERTIFICATE OF SERVICE

                 I hereby certify that on August 14, 2018, a copy of the foregoing motion was filed
 electronically. Notice of this filing will be sent to the following parties by operation of the Court’s
 electronic filing system. Parties may access this filing through the Court’s system.

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                                                /s/ Craig W. Wiley      ____________________
 4845-1998-6544, v. 1




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